        Case 8:04-cr-00319-SDM-TBM Document 80 Filed 05/19/05 Page 1 of 12 PageID 197
A 0 245B (Rev 12/03) Sheet 1 - Judgment in a Criminal Case


                            UNITED STA TES DISTRICT COURT
                                                  MIDDLE DISTRICT OF FLORIDA
                                                       TAMPA DMSION



UNITED STATES OF AMERICA                                      JUDGMENT IN A CRIMINAL CASE
                                                              CASE NUMBER:        8:04-cr-319-T-23TBM
                                                              USM NUMBER:         42176-018
VS.


GEORGE McCANN
                                                              Defendant's Attorney: Maria Gu7man. pda

THE DEFENDANT:

X pleaded guilty to count ONE of the Indictment.

TITLE & SECTION                     NATURE OF OFFENSE                                    OFFENSE ENDED             COUNT

21 U.S.C. $8 846 and                Conspiracy to Possess With Intent to                 June 26, 2004             ONE
841@)(1)(A)(vii)                    Distribute 100 Kilogram or More of
                                    Marijuana

        The defendant is sentenced as providcd in pages 2 through 6 of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.

X Counts TWO and THREE are dismisscd in accordance with the plea agreement.
-
IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change
of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully
paid.
If ordered to pay restitution, the defendant shall notify the court and United States Attorney of any material change in econonlic
circumstances.


                                                                                Date of Imposition of Sentence: May 19, 2005




                                                                                    STEVEN D. MERRYDAY
                                                                                UNITED STATES DISTRICT JUDGE
                                                                                                                            I
                                                                                DATE: May      '9R. 2,
        Case 8:04-cr-00319-SDM-TBM Document 80 Filed 05/19/05 Page 2 of 12 PageID 198
A 0 2453 (Rev 12/03) Sheer 2 - Imprisonment
Defendant:         GEORGE McCANN                                                                        Judgment - Page 2 of j
                                                                                                                             -
Case No.:          8:04-cr-319-T-23TBM



                The defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned for a total term of FIFTY-SEVEN (57) MONTI-IS as to count one of the Indictment.




- The court makes the following recommendations to the Bureau of Prisons:



- The defendant is remanded to the custody of the United States Marshal.
-The defendant shall surrender to the United States Marshal for this district.
          - at - a.m.1p.m. on -.
          - as notified by the United States Marshal.
     The defendant shall surrender for service of scnter~ceat the institution designated by the Bureau of Prisons.

         X on or before July 15 ,2005 .
         -
         - as notified by the United States Marshal.
         - as notified by the Probation or Pretrial Services Office.



                                                                   RETURN

          I have executed this judgment as follows:




          Defendant delivered on                                                 to

at                                                                       , with a certified copy of this judgment.



                                                                                        United States Marshal

                                                                       By:
                                                                       Deputy Marshal
         Case 8:04-cr-00319-SDM-TBM Document 80 Filed 05/19/05 Page 3 of 12 PageID 199
A 0 245B (Rev. 12103) Sheer 3 - Supervised Release
Defendant:           GEORGE McCANN                                                                    Judgment - Page 3of 6
Case No.:            8:M-cr-3 19-T-23TBM

                                                           SUPERVLSED RELEASE

         Upon release from imprisonment, the defendant shall be on supervised release for a term of FORTY-EIGRT (48) MO?TlXS
as to count one of the Lndictment.
        The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release
from the custody of the Bureau of Prisons.

         While on supervised release, the defendant shall not c o d t another federal, state, or local crime, and shall not possess a
firearm, ammunition, or destructive device as deliied in 18 U.S.C.5 921.

         The defendant shall not illegally possess a controlled substance. The defendant shall rekain from any unlawful use of a
         controlled substance. Based on the probation officer's determination that additional drug urinalysis is necessary, the Court
         authorizes random drug testing not to exceed 104 tests per year.

         The defendanr shall cooperate in the collection of DNA as directed by the probation officer

             If this judgment imposes a fine or a restitution it is a condition of supervised release that the defendant pay in accordance
             with the Schedule of Payments sheet of this judgment.

             The defendant shall comply with the standard conditions that have been adopted by this court as well as with any additional
             conditions on the attached page.
                                             STANDARD CONDITIONS OF SUPERVISION
             thc defendant shall not leave the judicial district without the permission of the c o ~ ~orr tprobation officcr:
             the defendant shall rcport to the probation officer and shall submit a truthful and complete written report within the first five days
             of each month;

             the defendant shall answcr truthfully all inquiries by the probation officcr and follow the instructions of the probation officer;
             the defendant shall support his or her dependents and meet other family responsibilities;

             the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
             acceptable reasons;

             the defendant shall notify thc probation officer at least ten days prior to any change in residencc or employment:
             the defendant shall refrain from cxccssive use of alcohol and shall not purchase, possess, use, distributc, or administer any
             controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician:
             the defendant shall not frequent places whcrc controlled substances are illegally sold, used, distributed, or administered;
             the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted
             of a fclony. unless granted permission to do so by the probation officer;
             the defendant shall permit a probation officcr to visit him or her at any time at home or elsewhere and shall permit confiscation of
             any contraband obscwcd in plain view of the probation officer:
             the defendant shall notify the probation officer within scvcnty-two hours of being arrcsted or questioned by a law enforcement
             officer:
             the defendant shall not cntcr into any agreement to act as an informer or a special agcnt of a law enforcement agency without the
             permission of the court:

             as directed by the probation officer, the defendant shall notify third partics of risks that may be occasioncd by the defendant's criminal
             record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
             dcfcndant's compliance with such notification requirement.
       Case 8:04-cr-00319-SDM-TBM Document 80 Filed 05/19/05 Page 4 of 12 PageID 200
A 0 215B (Rev. 12/03) Sheet 3C - Supervised Release

Defendant:        GEORGE McCANN                                                            Judgment - Page 4 of 6
Case No. :        8:04-cr-319-T-23TBM
                                       SPECIAL CONDITIONS OF SUPERVISION

         The defendant shall also comply with thc following additional conditions of supcwised release:

X        The defendant shall participate, as directed by the Probation Officer, in aprogram (outpatient andlor inpatient) for treatment
         of narcotic addiction or drug or alcohol dependency. This program may include testing for the detection of substance use
         or abuse. Further, the defendant shall be required to contribute to the costs of services for such treatment not to exceed an
         amount determined reasonable by the Probation Officer's Sliding Scale for Substance Abuse Treatment Services.
       Case 8:04-cr-00319-SDM-TBM Document 80 Filed 05/19/05 Page 5 of 12 PageID 201
A 0 245B (Rev 12/03) Sheet 5 - Criminal Monelary Penalties
Defendant:         GEORGE McCANN                                                          Judgment - Page 5 of 6
Case No. :         8:M-cr-319-T-23TBM

                                         CRIMINAL MONETARY PENALTIES

         The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.
                            Assessment                         -
                                                               Fine                       Total Restitution

         Totals:            $100.00                            $ waived                   $


-        The determination of restitution is deferred until -.          An Anierlded Jitdgr~ierlrin a Crirriirlal Case ( A 0 245C) will
         be entered after such detern~ination.
-        The defendant must make restitution (including community restitution) to the following payees in the m o u n t listed
         below.
         If the defendant makes a partial payment, each payee shall receive an approxin~atelyproportioned payment, unless
         specified otherwise in the priority order or percentage pa ment column below. However, pursuant to 18 U.S.C. 5
         3664(i). all non-federal victims must be paid before the &ired States.
                                                                                                            Priority Order o r
                                                *Total                     Amount of                        Percentage of
Name of Payee                                 Amount of Loss            Restitution Ordered                 Payment




                            Totals:           2-                        L
         Restitution amount ordered pursuant to plea agreement $
         The defendant shall ay interest on any fine or restitution of more than $2,500, unless the restilution or fine is paid in full
         before the fifteenth   after the date of the judgment, pursuant to 18 U.S.C. 8 3612(f). All of the payment options on Sheet
         6 may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. 5 3612(g).
         The court determined that the defendant does not have the ability to pay interest and it is ordered that:
        -          the interest requirement is waived for the - fine     - restitution.
        -          the interest requirement for the - fme - restitution is modified as follows:


* Findings for the total amount of losses are required under Cha ters 109A, 110, 1lOA, and 113A of Title 18 for the offenses
                                                                   8
committed on or after September 13, 1994, but before April 23, 1 96.
       Case 8:04-cr-00319-SDM-TBM Document 80 Filed 05/19/05 Page 6 of 12 PageID 202
A 0 245B (Rev 12/03) Sheer 6 - Schedule of Payments

Defendant:        GEORGE McCANN                                                            Judgment - Page 6of 6
Case No. :        894-cr-319-T-23TBM


                                                 SCHEDULE OF PAYMENTS



Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

A.                Lump sum payment of $ 100.00 due immediately, balance due
                            -not later than                   . or
                            -in accordance - C, - D. - E or - F below; or
B.       -        Payment to begin immediately (may be combined with -C , -D. or -F below): or
C.       -        Payment in equal                 (e.g., weekly. monthly, quarterly) installments of $            over a
                  period of           e.g., months or years), to commence             days (e.g.. 30 or 60 days) after the
                  date of this judgmebt; or
D.       -        Payment in equal                  ( e . k , weekly. monthly, quarterly) installments of $             over a
                  period of             , (e.g . , mon s or years) to cornmence                      (e.g. 30 or 60 days) after
                  release from imprisonment to a term of supervision: or
E.       -        Payment during the term of supervised release will conmence within                         (e.g., 30 or
                  60 days) after release from imprisonment. The court will set the payment plan based on an assessment of
                  the defendant's ability to pay at that time, or
F.       -        Special instructions regarding the payment of criminal monetary penalties:



         5                              g                            4
Federal ureau of Prisons' Inmate inancial Responsibility Program, are made to the clerk o e court.  '
Unless the court has expressly ordered otherwise, if this jud ment imposes a period of in1 risonment, pay~nentof criminal
monetar penalties is due during im risonment. All crimina monetary penalties, except ose a tnents made through the
                                                                                                          I?$
The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
-        Joint and Several
        Defendant and Co-Defendant Names and Case Numbers (including defendant number). Total Amount, Joint and
Several Amount. and corresponding payee, if appropriate:

X
-        The defendant shall forfeit the defendant's interest in the following property to the United States:
          - Pursuant to Final Order of Forfeiture For Money Judgment (Doc. 58) - attached
          - Pursuant to Prelinlinary Order of Forfeiture (Doc. 60) - attached
          - Pursuant to Prelinlinary Order of Forfeiture For Substitute Assets (Doc. 69) - attached




Payments shall be applied in the following ordcr: (1) assessment, (2) restitution principal. (3) restitution interest, (4) tine principal,
(5) community restitution, ( 6 ) fine interest (7) penallies, and (8) costs, including cost of prosecution and court costs.
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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

   UNITED STATES OF AMERICA,

          Plaintiff,

                                                  Case No. 8:04-cr-319-T-23TBM

   GEORGE MCCANN,

          Defendant.


                 FINAL ORDER OF FORFEITURE FOR MONEY JUDGMENT

         THIS CAUSE comes before the court upon the filing of a Motion by the United

   States of America for a Final Order of Forfeiture for a money judgment. For good

   cause shown, said Motion should be and is hereby GRANTED.

          Accordingly, it is hereby ORDERED, ADJUDGED AND DECREED that a money

   judgment in the amount of $2,777,778.00 in United States currency, which represents

   the amount that the defendant derived in proceeds from his criminal activity, is hereby

   forfeited to the United States of America, pursuant to 21 U.S.C. 5 853.

          DONE and ORDERED in Chambers, in Tampa, Florida this                      day of




                                                                                             I
                                                   STEVEN D. MERRYDAY
                                                   UNITED STATES DISTRICT JUDGE

   Copies to:
   Adelaide G. Few, AUSA
   All Counsel of Record
    Case 8:04-cr-00319-SDM-TBM Document 80 Filed 05/19/05 Page 8 of 12 PageID 204

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                                UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                       TAMPA DIVISION

       UNITED STATES OF AMERICA,

             Plaintiff,

                                                       Case No. 8:04-cr-319-T-23TBM

       GEORGE MCCANN, and
       RACHEL GRANT,
I

             Defendants.
I




                             PRELIMINARY ORDER OF FORFEITURE

             THIS CAUSE comes before the court upon the filing of the Motion of the United

       States of America for entry of a Preliminary Order of Forfeiture, which. at sentencinq,

       shall become a Final Order of Forfeiture as to defendants Georqe McCann and

       Rachel Grant's riaht, title, and interest in the following property:

                     1)    Real property located at 12380 Sanders Avenue,
                           Brooksville, Florida, together with a 1998 double-wide
                           Celebrity mobile home, including all improvements thereon
                           and appurtenances thereto, the legal description for which is
                           as follows:

                           A parcel of land in the Southeast 114 of Section 17, Township 21
                           South, Range 18 East, Hernando County, Florida, being more
                           particularly described as follows:

                           Commence at the Northeast corner of the Southeast 114 of said
                           Section 17, and run thence S 01" 31' 04" E, along the East
                           boundary of the said Southeast 114, a distance of 843.13 feet to the
                           POINT OF BEGINNING; thence continue S 01°31'04" E, along the
                           said East boundary, a distance of 882.31 feet; thence run N 89"
                           08'53" W, a distance of 559.37 feet; thence run N 01"20'19" W. a
                           distance of 882.20 feet; thence run S 89"08'53" E, a distance of
                           556.61 feet to the POINT OF BEGINNING.

                           Parcel ID: R17 421 18 0000 0030 0060 (01308203);
Case 8:04-cr-00319-SDM-TBM Document 80 Filed 05/19/05 Page 9 of 12 PageID 205
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                       $13,209.00 in United States currency seized at 12380 Sanders
                       Avenue, Brooksville, Florida, $329.00 of which was seized from
                       Rachel Grant;

                        One 2001 Mercury Mountaineer, VIN #4M2ZU66P31UJ00858:

                        One 2001 White Ford Truck, VIN #3FTSX31 F 7 l MA87872:

                        One 2002 ATV Sundiro Sunray, VIN #LALAA8SC12H005318:

                        Charles Schwab brokerage account #6142-0664, held in the name
                        of George Frederick McCann;

                        SunTrust Premium bank account #OllllOOO67393, held in the
                        name of George Frederick McCann; and

                        One projection N and all attachments, model #61SDXOlB.

          For good cause shown, the Motion of the United States is GRANTED. The court

   hereby finds that the United States has met its burden of establishing the requisite

   nexus between the assets and the offenses. Accordingly, it is hereby

          ORDERED, ADJUDGED and DECREED that pursuant to the provisions of 21

   U.S.C. § 853, all right, title and interest of defendants George McCann and Rachel

   Grant in the above-referenced property is hereby forfeited to the United States for

   disposition according to law.

          The United States will, pursuant to 21 U.S.C. 5 853(n) and Rule 32.2(b)(3),

   Federal Rules of Criminal Procedure, provide direct written notice to all third parties

   known to have alleged an interest in the subject property, and shall publish notice of

  this order and of its intent to dispose of the real property in such manner as the

  Attorney General may direct.
Case 8:04-cr-00319-SDM-TBM Document 80 Filed 05/19/05 Page 10 of 12 PageID 206
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           Upon adjudication of all third-party interests, this court will enter a Final Order of

    Forfeiture, pursuant to the provisions of 21 U.S.C. 5 853(n)(7) and Rule 32.2(c).

    Federal Rules of Criminal Procedure, which will address the interests of all parties and

    will vest clear title to the forfeited property in the United States.

           DONE and ORDERED in Chambers in Tampa, Florida, this
                                                                               7c;-        dayof




                                                                                               I


                                                        STEVEN D. MERRYDAY
                                                        UNITED STATES DISTRICT JUDGE

    Copies to:
    Adelaide G. Few, AUSA
    All Counsel of Record
Case 8:04-cr-00319-SDM-TBM Document 80 Filed 05/19/05 Page 11 of 12 PageID 207

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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                     TAMPA DIVISION

  UNITED STATES OF AMERICA,

          Plaintiff,

  v.                                              Case No. 8:04-cr-319-T-23TBM

  GEORGE MCCANN, and
  RACHEL GRANT,

          Defendants.


                               PRELIMINARY ORDER OF
                         FORFEITURE FOR SUBSTITUTE ASSETS

          THIS CAUSE comes before the court upon the filing of the Motion of the United

  States of America for entry of a Preliminary Order of Forfeiture for Substitute Assets for

  the following:

                   1)   Real property located at 14217 and 14221 Timothy Lane, Hudson,
                        Florida, including all improvements thereon and appurtenances
                        thereto, the legal description for which is as follows:

                        Suncoast Highland Unrecorded Plat Tract 956 Desc As Corn at NW
                        Cor of Section 23 TH N89DG 57' 39"E 1223.00 FT for PO0 TH,
                        Pasco County, Florida.

                        Parcel ID: 23-24-17-0020-00000-9560 (Multi-Family - Less than 5
                        units);

                   2)   One 1976 Black Studebaker, Identification #RQB2360; and

                   3)   One 1995 Red Dodge Pickup, VIN #1 B7GG23YXSS238971.

          For good cause shown, the Motion of the United States is GRANTED.

  Accordingly, it is hereby

          ORDERED, ADJUDGED and DECREED that pursuant to the provisions of Rule
Case 8:04-cr-00319-SDM-TBM Document 80 Filed 05/19/05 Page 12 of 12 PageID 208

     Case ~ : O ~ - C ~ - O O ~ I ~ - S D M - TDocument
                                                BM      69   Filed 0411512005      Page 2 of 2




   32.2(e)(l)(B). Federal Rules of Criminal Procedure and 21 U.S.C. 5 853(p). the above-

   referenced property is hereby forfeited to the United States for disposition according to

   law.

          Upon adjudication of all third-party interests, this court will enter a Final Order of

   Forfeiture for Substitute Assets, pursuant to the provisions of 21 U.S.C. § 853(n)(7) and

   Rule 32.2(c), Federal Rules of Criminal Procedure, which will address the interests of

   all parties and will vest clear title to the forfeited property in the United States.

          DONE and ORDERED in Chambers in Tampa. Florida, this                  lSGi       day of




                                                      STEVEN D. MERRYDAY
                                                      UNITED STATES DISTRICT JUDGE


   Copies to:
   Adelaide G. Few, AUSA
   All Counsel of Record
